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 PS 8
(3/15)


                              UNITED STATES DISTRICT COURT                                                  FILED IN THE
                                                                                                        U.S. DISTRICT COURT
                                                                                                  EASTERN DISTRICT OF WASHINGTON


                                                             for
                                                                                                   Oct 06, 2021
                                            Eastern District of Washington                             SEAN F. MCAVOY, CLERK




 U.S.A. vs.               Orozco-Alvarez, Catalina                       Docket No.         0980 1:19CR02046-SAB-1


                               Petition for No Action on Conditions of Pretrial Release

        COMES NOW Linda J. Leavitt, PRETRIAL SERVICES OFFICER presenting an official report upon the conduct
of defendant Catalina Orozco-Alvarez, who was placed under pretrial release supervision by the Honorable U.S. Magistrate
Judge Mary K. Dimke sitting in the court at Yakima, Washington, on the 26th day of October 2020, under the following
conditions:

Standard Condition #9: Defendant shall refrain from use or unlawful possession of a narcotic drug or other controlled
substances defined in 21 U.S.C. § 802, unless prescribed by a licensed medical practitioner in conformance with Federal
law. Defendant may not use or possess marijuana, regardless of whether Defendant has been authorized medical marijuana
under state law.

         RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:

Violation #1: Catalina Orozco-Alvarez is alleged being in violation of pretrial release by consuming a controlled substance,
methamphetamine, between September 12 and 15, 2021.

On October 27, 2020, the conditions of pretrial release supervision were reviewed and signed by Ms. Orozco-Alvarez. She
acknowledged an understanding of her conditions, which included standard condition number 9, as noted above.

On September 15, 2021, this officer received notice, via email from Merit Resource Services (Merit), that Ms. Orozco-
Alvarez missed her random color line drug test on September 14, 2021. On September 15, 2021, this officer made telephone
contact with Ms. Orozco-Alvarez and directed her to report to Merit before the close of business on September 15, 2021,
to submit a makeup drug test. On September 15, 2021, this officer received a telephone call from the Merit drug testing
technician advising Ms. Orozco-Alvarez had submitted a presumptive positive drug test for methamphetamine and marijuana.
The drug testing technician also shared Ms. Orozco-Alvarez admitted to using methamphetamine, but denied using
marijuana. Ms. Orozco-Alvarez then sent a text message to ths officer confirming the positive drug test and admitting she
relapsed.

Ms. Orozco-Alvarez' urine sample was sent to Alere Laboratory (Alere) for testing on September 15, 2021. Results were
received on October 1, 2021, confirming a positive reading for methamphetamine and a negative reading for marijuana.

On September 16, 2021, this officer conducted a home visit at Ms. Orozco-Alvarez' residence. Ms. Orozco-Alvarez admitted
she had consumed methamphetamine beginning September 12, 2021, with her last use being on September 15, 2021. Ms.
Orozco-Alvarez shared she was terminated from her job with Del Monte in Yakima, Washington, and the situation
surrounding her dismissal "stressed her out." Ms. Orozco-Alvarez shared she allowed herself to enter the mind set of "screw
it" and she then "made the decision to use." Ms. Orozco-Alvarez admitted she had been consuming controlled substances
for several days, with her last use being the morning of September 15, 2021.

Ms. Orozco-Alvarez acknowledged the importance of staying clean and sober. This officer spent a great deal of time with
Ms. Orozco-Alvarez on September 16, 2021, discussing her decision making and what led to her relapse. She shared she
understands the consequences if she continues to use drugs. Ms. Orozco-Alvarez told this officer “it will not happen again,
I have too much to lose."
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                   PRAYING THAT THE COURT WILL ORDER NO ACTION AT THIS TIME



                                                                      I declare under the penalty of perjury
                                                                      that the foregoing is true and correct.
                                                                      Executed on:         October 4, 2021
                                                            by        s/Linda J. Leavitt
                                                                      Linda J. Leavitt
                                                                      U.S. Pretrial Services Officer


THE COURT ORDERS

[X ]     No Action
[ ]      The Issuance of a Warrant
[ ]      The Issuance of a Summons
[ ]      The incorporation of the violation(s) contained in this
         petition with the other violations pending before the
         Court.
[ ]      Defendant to appear before the Judge assigned to the case.
[ ]      Defendant to appear before the Magistrate Judge.
[ ]      Other


                                                                        Signature of Judicial Officer
                                                                         10/6/2021

                                                                        Date
